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 6
 7
                                 UNITED STATES DISTRICT COURT
 8
                                CENTRAL DISTRICT OF CALIFORNIA
 9
10                                                     Case No.:
      OSCAR MAGALLANES,
11                 Plaintiff,                          COMPLAINT FOR INJUNCTIVE
                                                       RELIEF AND DAMAGES FOR DENIAL
12          vs.                                        OF CIVIL RIGHTS OF A DISABLED
                                                       PERSON IN VIOLATIONS OF
13
                                                       1. AMERICANS WITH DISABILITIES
14                                                     ACT, 42 U.S.C. §12131 et seq.;
      TRI-COUNTY LOCKSMITHS, INC.;
15    DAVID G. LEE; and DOES 1 to 10,                  2. CALIFORNIA’S UNRUH CIVIL
                                                       RIGHTS ACT;
16                 Defendants.
                                                       3. CALIFORNIA’S DISABLED
17                                                     PERSONS ACT;
18                                                     4. CALIFORNIA HEALTH & SAFETY
                                                       CODE;
19
                                                       5. NEGLIGENCE
20
21
22
23          Plaintiff OSCAR MAGALLANES (“Plaintiff”) complains of Defendants TRI-

24    COUNTY LOCKSMITHS, INC.; DAVID G. LEE; and DOES 1 to 10 (“Defendants”)

25    and alleges as follows:

26                                              PARTIES

27          1.     Plaintiff is a California resident with a physical disability. Plaintiff is

28    diagnosed with lower extremity paraplegia secondary to spina bifida and is substantially



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 1    limited in his ability to walk. Plaintiff requires the use of a wheelchair at all times when
 2    traveling in public.
 3             2.   Defendants are, or were at the time of the incident, the real property owners,
 4    business operators, lessors and/or lessees of the real property for a locksmith
 5    (“Business”) located at or about 300 Pine Ave., Goleta, California.
 6             3.   The true names and capacities, whether individual, corporate, associate or
 7    otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
 8    who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
 9    Court to amend this Complaint when the true names and capacities have been
10    ascertained. Plaintiff is informed and believes, and, based thereon, alleges that each such
11    fictitiously named Defendants are responsible in some manner, and therefore, liable to
12    Plaintiff for the acts herein alleged.
13             4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
14    times, each of the Defendants was the agent, employee, or alter-ego of each of the other
15    Defendants, and/or was acting in concert with each of the other Defendants, and in doing
16    the things alleged herein was acting with the knowledge and consent of the other
17    Defendants and within the course and scope of such agency or employment relationship.
18             5.   Whenever and wherever reference is made in this Complaint to any act or
19    failure to act by a defendant or Defendants, such allegations and references shall also be
20    deemed to mean the acts and failures to act of each Defendant acting individually, jointly
21    and severally.
22                                  JURISDICTION AND VENUE
23             6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
24    1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
25    seq.).
26             7.   Pursuant to pendant jurisdiction, attendant and related causes of action,
27    arising from the same nucleus of operating facts, are also brought under California law,
28




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 1    including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 2    54, 54., 54.3 and 55.
 3          8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 4          9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 5    property which is the subject of this action is located in this district, Santa Barbara
 6    County, California, and that all actions complained of herein take place in this district.
 7                                        FACTUAL ALLEGATIONS
 8          10.    In or about July of 2024, Plaintiff went to the Business.
 9          11.    The Business is a locksmith business establishment, open to the public, and
10    is a place of public accommodation that affects commerce through its operation.
11    Defendants provide parking spaces for customers.
12          12.    While attempting to enter the Business during each visit, Plaintiff personally
13    encountered a number of barriers that interfered with his ability to use and enjoy the
14    goods, services, privileges, and accommodations offered at the Business.
15          13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
16    included, but were not limited to, the following:
17                 a.     Defendants failed to comply with the federal and state standards for
18                        the parking space designated for persons with disabilities. Defendants
19                        failed to provide any parking space designated for persons with
20                        disabilities.
21                 b.     Defendants failed to comply with the federal and state standards for
22                        the parking space designated for persons with disabilities. Defendants
23                        failed to provide the parking space identification sign with the
24                        International Symbol of Accessibility.
25                 c.     Defendants failed to comply with the federal and state standards for
26                        the parking space designated for persons with disabilities. Defendants
27                        failed to post required signage such as “Van Accessible,” “Minimum
28                        Fine $250” and “Unauthorized Parking.”



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 1                 d.     Defendants failed to comply with the federal and state standards for
 2                        the parking space designated for persons with disabilities. Defendants
 3                        failed to provide proper van accessible space designated for the
 4                        persons with disabilities.
 5                 e.     Defendants failed to comply with the federal and state standards for
 6                        the parking space designated for persons with disabilities. Defendants
 7                        failed to paint the ground as required.
 8                 f.     Defendants failed to comply with the federal and state standards for
 9                        the parking space designated for persons with disabilities. Defendants
10                        failed to mark the space with the International Symbol of
11                        Accessibility.
12                 g.     Defendants failed to maintain accessibility for persons with
13                        disabilities to comply with the federal and state standards. Defendants
14                        failed to provide at least one accessible entrance as required as the
15                        entrance had a step instead of a proper ramp.
16          14.    These barriers and conditions denied Plaintiff full and equal access to the
17    Business and caused Plaintiff difficulty and frustration. Plaintiff wishes to return and
18    patronize the Business; however, Plaintiff is deterred from visiting the Business because
19    his knowledge of these violations prevents him from returning until the barriers are
20    removed.
21          15.    Based on the violations, Plaintiff alleges, on information and belief, that
22    there are additional barriers to accessibility at the Business after further site inspection.
23    Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
24    Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
25          16.    In addition, Plaintiff alleges, on information and belief, that Defendants
26    knew that particular barriers render the Business inaccessible, violate state and federal
27    law, and interfere with access for the physically disabled.
28




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 1          17.    At all relevant times, Defendants had and still have control and dominion
 2    over the conditions at this location and had and still have the financial resources to
 3    remove these barriers without much difficulty or expenses to make the Business
 4    accessible to the physically disabled in compliance with ADDAG and Title 24
 5    regulations. Defendants have not removed such barriers and have not modified the
 6    Business to conform to accessibility regulations.
 7                                      FIRST CAUSE OF ACTION
 8           VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
 9          18.    Plaintiff incorporates by reference each of the allegations in all prior
10    paragraphs in this complaint.
11          19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
12    shall be discriminated against on the basis of disability in the full and equal enjoyment of
13    the goods, services, facilities, privileges, advantages, or accommodations of any place of
14    public accommodation by any person who owns, leases, or leases to, or operates a place
15    of public accommodation. See 42 U.S.C. § 12182(a).
16          20.    Discrimination, inter alia, includes:
17                 a.     A failure to make reasonable modification in policies, practices, or
18                        procedures, when such modifications are necessary to afford such
19                        goods, services, facilities, privileges, advantages, or accommodations
20                        to individuals with disabilities, unless the entity can demonstrate that
21                        making such modifications would fundamentally alter the nature of
22                        such goods, services, facilities, privileges, advantages, or
23                        accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
24                 b.     A failure to take such steps as may be necessary to ensure that no
25                        individual with a disability is excluded, denied services, segregated or
26                        otherwise treated differently than other individuals because of the
27                        absence of auxiliary aids and services, unless the entity can
28                        demonstrate that taking such steps would fundamentally alter the



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 1                        nature of the good, service, facility, privilege, advantage, or
 2                        accommodation being offered or would result in an undue burden. 42
 3                        U.S.C. § 12182(b)(2)(A)(iii).
 4                 c.     A failure to remove architectural barriers, and communication barriers
 5                        that are structural in nature, in existing facilities, and transportation
 6                        barriers in existing vehicles and rail passenger cars used by an
 7                        establishment for transporting individuals (not including barriers that
 8                        can only be removed through the retrofitting of vehicles or rail
 9                        passenger cars by the installation of a hydraulic or other lift), where
10                        such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
11                 d.     A failure to make alterations in such a manner that, to the maximum
12                        extent feasible, the altered portions of the facility are readily
13                        accessible to and usable by individuals with disabilities, including
14                        individuals who use wheelchairs or to ensure that, to the maximum
15                        extent feasible, the path of travel to the altered area and the
16                        bathrooms, telephones, and drinking fountains serving the altered
17                        area, are readily accessible to and usable by individuals with
18                        disabilities where such alterations to the path or travel or the
19                        bathrooms, telephones, and drinking fountains serving the altered area
20                        are not disproportionate to the overall alterations in terms of cost and
21                        scope. 42 U.S.C. § 12183(a)(2).
22          21.    Where parking spaces are provided, accessible parking spaces shall be
23    provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
24    eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
25    (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
26    Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
27    be a van accessible parking space. 2010 ADA Standards § 208.2.4.
28




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 1          22.    Under the ADA, the method and color of marking are to be addressed by
 2    State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
 3    Building Code (“CBC”), the parking space identification signs shall include the
 4    International Symbol of Accessibility. Parking identification signs shall be reflectorized
 5    with a minimum area of 70 square inches. Additional language or an additional sign
 6    below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
 7    parking space identification sign shall be permanently posted immediately adjacent and
 8    visible from each parking space, shall be located with its centerline a maximum of 12
 9    inches from the centerline of the parking space and may be posted on a wall at the
10    interior end of the parking space. See CBC § 11B-502.6, et seq.
11          23.    Moreover, an additional sign shall be posted either in a conspicuous place at
12    each entrance to an off-street parking facility or immediately adjacent to on-site
13    accessible parking and visible from each parking space. The additional sign shall not be
14    less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
15    letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
16    designated accessible spaces not displaying distinguishing placards or special license
17    plates issued for persons with disabilities will be towed away at the owner’s expense…”
18    See CBC § 11B-502.8, et seq.
19          24.    Here, Defendants failed to provide any parking space designated for persons
20    with disabilities. Defendants also failed to provide the parking space identification sign
21    with the International Symbol of Accessibility. In addition, Defendants failed to provide
22    the signs stating, “Minimum Fine $250” and “Van Accessible.” Moreover, Defendants
23    failed to provide the additional sign with the specific language stating “Unauthorized
24    vehicles parked in designated accessible spaces not displaying distinguishing placards or
25    special license plates issued for persons with disabilities will be towed away at the
26    owner’s expense…”
27          25.    For the parking spaces, access aisles shall be marked with a blue painted
28    borderline around their perimeter. The area within the blue borderlines shall be marked



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 1    with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
 2    with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
 3    be painted on the surface within each access aisle in white letters a minimum of 12 inches
 4    (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
 5    11B-502.3.3.
 6          26.    Here, Defendants failed to provide a proper access aisle as there were no
 7    “NO PARKING” marking and blue hatched lines painted on the parking surface.
 8    Moreover, Defendants failed to provide the access aisle with the minimum width of 96
 9    inches.
10          27.    The surface of each accessible car and van space shall have surface
11    identification complying with either of the following options: The outline of a profile
12    view of a wheelchair with occupant in white on a blue background a minimum 36” wide
13    by 36” high (914 mm x 914 mm). The centerline of the profile view shall be a maximum
14    of 6 inches (152 mm) from the centerline of the parking space, its sides parallel to the
15    length of the parking space and its lower side or corner aligned with the end of the
16    parking space length or by outlining or painting the parking space in blue and outlining
17    on the ground in white or a suitable contrasting color a profile view of a wheel chair with
18    occupant. See CBC § 11B-502.6.4, et seq.
19          28.    Here, Defendants failed to paint the International Symbol of Accessibility on
20    the surface as required.
21          29.    At least one accessible route shall connect accessible building, facilities,
22    elements, and spaces that are on the same site. 1991 ADA Standards § 4.3.2. A public
23    accommodation shall maintain in operable working condition those features of facilities
24    and equipment that are required to be readily accessible to and usable by persons with
25    disabilities by the Act or this part. 28 C.F.R. 35.211(a).
26          30.    Here, Defendants failed to provide at least one accessible entrance to the
27    Business as the entrance had a step instead of a proper ramp.
28




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 1          31.      A public accommodation shall maintain in operable working condition those
 2    features of facilities and equipment that are required to be readily accessible to and usable
 3    by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
 4          32.      By failing to maintain the facility to be readily accessible and usable by
 5    Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
 6    regulations.
 7          33.      The Business has denied and continues to deny full and equal access to
 8    Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
 9    discriminated against due to the lack of accessible facilities, and therefore, seeks
10    injunctive relief to alter facilities to make such facilities readily accessible to and usable
11    by individuals with disabilities.
12                                  SECOND CAUSE OF ACTION
13                      VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
14          34.      Plaintiff incorporates by reference each of the allegations in all prior
15    paragraphs in this complaint.
16          35.      California Civil Code § 51 states, “All persons within the jurisdiction of this
17    state are free and equal, and no matter what their sex, race, color, religion, ancestry,
18    national origin, disability, medical condition, genetic information, marital status, sexual
19    orientation, citizenship, primary language, or immigration status are entitled to the full
20    and equal accommodations, advantages, facilities, privileges, or services in all business
21    establishments of every kind whatsoever.”
22          36.      California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
23    or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
24    for each and every offense for the actual damages, and any amount that may be
25    determined by a jury, or a court sitting without a jury, up to a maximum of three times the
26    amount of actual damage but in no case less than four thousand dollars ($4,000) and any
27    attorney’s fees that may be determined by the court in addition thereto, suffered by any
28    person denied the rights provided in Section 51, 51.5, or 51.6.



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 1         37.    California Civil Code § 51(f) specifies, “a violation of the right of any
 2   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
 3   shall also constitute a violation of this section.”
 4         38.    The actions and omissions of Defendants alleged herein constitute a denial
 5   of full and equal accommodation, advantages, facilities, privileges, or services by
 6   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
 7   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
 8   51 and 52.
 9         39.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
10   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
11   damages as specified in California Civil Code §55.56(a)-(c).
12                                  THIRD CAUSE OF ACTION
13                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
14         40.    Plaintiff incorporates by reference each of the allegations in all prior
15   paragraphs in this complaint.
16         41.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
17   entitled to full and equal access, as other members of the general public, to
18   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
19   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
20   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
21   of transportation (whether private, public, franchised, licensed, contracted, or otherwise
22   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
23   places of public accommodations, amusement, or resort, and other places in which the
24   general public is invited, subject only to the conditions and limitations established by
25   law, or state or federal regulation, and applicable alike to all persons.
26         42.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
27   corporation who denies or interferes with admittance to or enjoyment of public facilities
28   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an



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 1   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
 2   the actual damages, and any amount as may be determined by a jury, or a court sitting
 3   without a jury, up to a maximum of three times the amount of actual damages but in no
 4   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
 5   determined by the court in addition thereto, suffered by any person denied the rights
 6   provided in Section 54, 54.1, and 54.2.
 7         43.    California Civil Code § 54(d) specifies, “a violation of the right of an
 8   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
 9   constitute a violation of this section, and nothing in this section shall be construed to limit
10   the access of any person in violation of that act.
11         44.    The actions and omissions of Defendants alleged herein constitute a denial
12   of full and equal accommodation, advantages, and facilities by physically disabled
13   persons within the meaning of California Civil Code § 54. Defendants have
14   discriminated against Plaintiff in violation of California Civil Code § 54.
15         45.    The violations of the California Disabled Persons Act caused Plaintiff to
16   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
17   statutory damages as specified in California Civil Code §55.56(a)-(c).
18                                FOURTH CAUSE OF ACTION
19                CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
20         46.    Plaintiff incorporates by reference each of the allegations in all prior
21   paragraphs in this complaint.
22         47.    Plaintiff and other similar physically disabled persons who require the use of
23   a wheelchair are unable to use public facilities on a “full and equal” basis unless each
24   such facility is in compliance with the provisions of California Health & Safety Code §
25   19955 et seq. Plaintiff is a member of the public whose rights are protected by the
26   provisions of California Health & Safety Code § 19955 et seq.
27         48.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
28   that public accommodations or facilities constructed in this state with private funds



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 1   adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
 2   Title 1 of the Government Code. The code relating to such public accommodations also
 3   requires that “when sanitary facilities are made available for the public, clients, or
 4   employees in these stations, centers, or buildings, they shall be made available for
 5   persons with disabilities.
 6          49.    Title II of the ADA holds as a “general rule” that no individual shall be
 7   discriminated against on the basis of disability in the full and equal enjoyment of goods
 8   (or use), services, facilities, privileges, and accommodations offered by any person who
 9   owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
10   Further, each and every violation of the ADA also constitutes a separate and distinct
11   violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
12   award of damages and injunctive relief pursuant to California law, including but not
13   limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
14                                   FIFTH CAUSE OF ACTION
15                                         NEGLIGENCE
16          50.    Plaintiff incorporates by reference each of the allegations in all prior
17   paragraphs in this complaint.
18          51.    Defendants have a general duty and a duty under the ADA, Unruh Civil
19   Rights Act and California Disabled Persons Act to provide safe and accessible facilities
20   to the Plaintiff.
21          52.    Defendants breached their duty of care by violating the provisions of ADA,
22   Unruh Civil Rights Act and California Disabled Persons Act.
23          53.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
24   has suffered damages.
25                                     PRAYER FOR RELIEF
26          WHEREFORE, Plaintiff respectfully prays for relief and judgment against
27   Defendants as follows:
28




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 1         1.     For preliminary and permanent injunction directing Defendants to comply
 2   with the Americans with Disability Act and the Unruh Civil Rights Act;
 3         2.     Award of all appropriate damages, including but not limited to statutory
 4   damages, general damages and treble damages in amounts, according to proof;
 5         3.     Award of all reasonable restitution for Defendants’ unfair competition
 6   practices;
 7         4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
 8   action;
 9         5.     Prejudgment interest pursuant to California Civil Code § 3291; and
10         6.     Such other and further relief as the Court deems just and proper.
11
12                              DEMAND FOR TRIAL BY JURY
13         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
14   demands a trial by jury on all issues so triable.
15
16   Dated: October 9, 2024                  SO. CAL. EQUAL ACCESS GROUP
17
18
19                                           By:    _/s/ Jason J. Kim___________
                                                    Jason J. Kim, Esq.
20                                                  Attorneys for Plaintiff
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